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 8
     Attorneys for Plaintiff, Steven
 9   Johnson
10
                              UNITED STATES DISTRICT COURT
11
                                   DISTRICT OF NEVADA
12
13
     STEVEN JOHNSON                               Case No. 2:18-cv-01381-RFB-BNW
14
                         Plaintiff,               STIPULATION AND ORDER TO
15                                                SUBSTITUTE REAL PARTIES IN
     v.                                           INTEREST FOR ERRONEOUSLY NAMED
16                                                DEFENDANTS UNDER FRCP 17(a)
     HOOTERS, INC.; HOOTERS CASINO
17   HOTEL; HOOTERS OF AMERICA, LLC;
     NAVEGANTE GROUP, INC.; TRINITY
18   HOTEL INVESTORS, LLC, and DOES 1 to
     50
19
20                       Defendant.

21
22        COMES NOW, Plaintiff, Steven Johnson (“Plaintiff”), by and through

23   the law office of THE WILLIAMS LAW GROUP; and Defendants HILV Fee, LLC

24   and NAV-115 E. Tropicana, LLC, who are erroneously named HOOTERS CASINO
25   HOTEL, HOOTERS OF AMERICA, LLC, NAVEGANTE GROUP, INC., and TRINITY HOTEL
26
     INVESTORS, LLC in the complaint, by and through the law offices of TYSON
27
28
                                              1
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     & MENDES, LLP (collectively, the “Hooters Defendants”), and hereby agree
 1
     and stipulate as follows:
 2
 3         IT IS HEREBY AGREED AND STIPULATED that named Defendants HOOTERS

 4   CASINO HOTEL, HOOTERS OF AMERICA, LLC, NAVEGANTE GROUP, INC., and TRINITY

 5   HOTEL INVESTORS, LLC are not the real parties in interest. The real
 6   parties in interest are HILV Fee, LLC and NAV-115 E. Tropicana, LLC.
 7
           THEREFORE, IT IS HEREBY AGREED AND STIPULATED that HILV Fee, LLC
 8
     and NAV-115 E. Tropicana, LLC should be substituted into this action as
 9
     defendants in place of HOOTERS CASINO HOTEL, HOOTERS OF AMERICA, LLC,
10
11   NAVEGANTE GROUP, INC., and TRINITY HOTEL INVESTORS, LLC; pursuant to FRCP

12   Rule 17(a).

13         The parties have entered into this agreement in good-faith, to
14   clarify the record and so as to not cause any needless or undue delay to
15
     this Court.
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          IT IS SO STIPULATED.
 1
     Dated this 4th day of May 2020.
 2
 3   The Williams Law Group                   Tyson & Mendes LLP
 4
 5   BY: __________________________               /s/ Christopher A. Lund
                                              BY: __________________________
     ANDREW WILLIAMS, ESQ.                    CHRISTOPHER A. LUND
 6   CA bar #: 310526 – pro hac vice          NV bar #: 7086
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     Attorneys for Plaintiff Steve            Email:       clund@tysonmendes.com
14   Johnson                                  Attorneys for Defendants HILV Fee,
                                              LLC, and NAV-115 E. TROPICANA, LLC
15
16
17
     IT IS SO ORDERED
18
19                   5th
          DATED this _____ day of May 2020.
20
                                                  _______________________________
21                                                UNITED STATES JUDGE
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                                             3
         Case 2:18-cv-01381-RFB-BNW Document 84
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 1                                    CERTIFICATE OF SERVICE
 2           The undersigned, a contractor of The Williams Law Group, hereby
 3
     certifies that on the 4th day of May 2020, a copy of the foregoing
 4
     STIPULATION     AND    ORDER    TO    SUBSTITUTE   REAL   PARTIES   IN   INTEREST   FOR
 5
     ERRONEOUSLY NAMED DEFENDANTS UNDER FRCP 17(a)was served electronically
 6
 7   to all parties of interest via this Court’s CM/ECF system as follows:

 8
        TYSON & MENDES, LLP
 9      THOMAS E. MCGRATH, ESQ.
        CHRISTOPHER A. LUND, ESQ.
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        Las Vegas, NV 89169
12      Email: clund@tysonmendes.com
        Attorneys for Defendants: HILV Fee, LLC
13      and NAV-115 E. Tropicana, LLC
14
15
16
                                                   /s/Osarumwense Ogbebor______________
17                                                A contractor of The Williams Law Group
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